      Case: 1:16-cv-11057 Document #: 180 Filed: 02/07/19 Page 1 of 5 PageID #:1706



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

 EDELSON PC                                          )
                                                     )
            Plaintiff                                )
 v.                                                  )     1:16-cv-11057
                                                     )
 The Bandas Law Firm PC et al.                       )     Judge Rebecca R. Pallmeyer
                                                     )
            Defendants                               )
                                                     )


                  MOTION TO CORRECT ORDER OF JANUARY 17, 2019
         NOW COMES the Bandas Law Firm PC and Christopher Bandas (“Bandas”), by and

through its undersigned counsel, and moves for the entry of an order correcting an ambiguity in

the Court’s order of January 17, 2019 (the “Order”) and in support thereof Bandas states as follows:

         1. The Order was entered on January 17, 2019 and counsel for the Parties did not note an

            ambiguity in paragraph 6 until January 24, 2019.

         2. Counsel for Bandas spoke with counsel for Edelson on January 25, 2019 and Edelson’s

            counsel acknowledged that paragraph 6 is limited to currently pending cases in Illinois

            courts in which Edelson PC is class counsel. (See Declaration of Darren

            VanPuymbrouck attached as Exhibit A). This matter was not addressed in the Bandas

            motion (Dkt. ).

         3. The language suggested below reflects the elimination of the ambiguity in paragraph 6

            of the Order.




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   Case: 1:16-cv-11057 Document #: 180 Filed: 02/07/19 Page 2 of 5 PageID #:1707



   WHEREFORE, Christopher Bandas and the Bandas Law Firm PC, et al. (“Bandas”)

respectfully request that this Honorable Court correct paragraph 6 of its Final Judgement Order by

substituting the following language for the current language of paragraph 6:

            Defendants having consulted with their clients, shall immediately and
            unconditionally withdraw all objections and filings relating to Clark v.
            Gannett Co., Inc. and Birchmeier v. Caribbean Cruise Line, Inc.
            Defendants shall have no further direct or indirect involvement in these
            matters. Defendants shall accept no compensation of any kind related to
            these matters.



                                                    Respectfully Submitted,


                                                    By: /s/ Robert P. Cummins, Esq.
                                                    Norman, Hanson & DeTroy LLC
                                                    Two Canal Plaza
                                                    P.O. Box 4600
                                                    Portland, Maine 04112
                                                    (207) 553-4712 yes there
                                                    rcummins@nhdlaw.com

                                                       -and-

                                                    By: /s/ Darren VanPuymbrouck
                                                    Falkenberg Ives LLP
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                                                    Chicago, Illinois 60602
                                                    312-566-4805
                                                    dvan@falkenbergives.com

                                                    Counsel for Christopher Bandas
                                                    And the Bandas Law Firm PC




                                                2
   Case: 1:16-cv-11057 Document #: 180 Filed: 02/07/19 Page 3 of 5 PageID #:1708



                               CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2019, I caused this Motion to be electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to counsel of record.




                                                    /s/ Darren VanPuymbrouck

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                                               3
Case: 1:16-cv-11057 Document #: 180 Filed: 02/07/19 Page 4 of 5 PageID #:1709




                          Exhibit A
      Case: 1:16-cv-11057 Document #: 180 Filed: 02/07/19 Page 5 of 5 PageID #:1710



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

 EDELSON PC                                           )
                                                      )
            Plaintiff                                 )
 v.                                                   )       1:16-cv-11057
                                                      )
 The Bandas Law Firm PC et al.                        )       Judge Rebecca R. Pallmeyer
                                                      )
             Defendants                               )
                                                      )


                        DECLARATION OF DARREN VANPUYMBROUCK


Pursuant to 28 U.S.C. Sec. 1746, I, Darren VanPuymbrouck, hereby state as follows:


1. I am an attorney admitted to the general and trial bars of this Court, and I represent

      Christopher Bandas and the Bandas Law Firm PC in the above-captioned matter.

2. As set forth in the attached Motion and following the entry of the Order of January 17, 2019,

      an ambiguity and drafting oversight in paragraph 6 was discovered on January 24, 2019.

3. On the following day on January 25, 2019, I called this ambiguity to Edelson’s counsel’s

      attention and they agreed that paragraph 6 is limited to currently pending cases in Illinois

      Courts in which Edelson PC is class counsel.

4. This is an issue not addressed in Bandas’ motion for judgment on the pleadings.

5. As set forth in the Motion, we have suggested language that eliminates the ambiguity.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed this 7th day of February, 2019 at Chicago Illinois.

                                        /s/ Darren VanPuymbrouck
